Case 1:21-cv-00755-MKB-RER Document 14 Filed 06/21/21 Page 1 of 2 PageID #: 80




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                                                                               June 21, 2021
VIA EMAIL (nshillito@hansassociates.com)

Stephen D. Hans & Associates, P.C.
Attn: Nils C. Shillito, Esq.
30-30 Northern Blvd
Suite 401
Long Island City, NY 11101


Re:            Klimovitsky v. JG Innovative Industries, Inc., et al.
               Case No. 21-CV-755 (MKB)(RER)

Dear Mr. Shillito:

       This firm represents the Plaintiff, Ms. Klimovitsky, in the above-referenced action.
Attached herewith for service are copies of Plaintiff’s Memorandum of Law in Opposition to
Defendant’s Motion to Dismiss in the above- referenced action.

        Pursuant to Rule 3(D) of Judge Brodie’s Individual Practices and Rules, the parties are to
refrain from filing any motion papers with the Court until the motion has been fully briefed. As
such, only a copy of this cover letter shall be filed with the Court via ECF today.

                                                     Sincerely,


                                                     SHALOM LAW, PLLC
                                                     /s/ Jonathan Shalom
                                                      Jonathan Shalom, Esq.
                                                      105-13 Metropolitan Avenue
                                                      Forest Hills, NY 11375
                                                      (718) 971-9474 (office)
                                                      Jonathan@Shalomlawny.com

                                                     Attorneys for Plaintiff
Case 1:21-cv-00755-MKB-RER Document 14 Filed 06/21/21 Page 2 of 2 PageID #: 81




cc:

VIA ECF

The Honorable Margo K. Brodie
Chief U.S. District Judge, EDNY
